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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 LORENZO ARMIJO,                              §
                                              §
           Plaintiff,                         §
                                              §
 V.                                           §           No. 3:23-cv-1514-K-BN
                                              §
 MOVEMENT MORTGAGE LLC and                    §
 LAKEVIEW LOAN SERVICING LLC,                 §
                                              §
          Defendants.                         §

              STANDING ORDER ON FEDERAL RULE OF CIVIL
                PROCEDURE 12(B)(6) MOTION TO DISMISS

       This Standing Order governs the filing in this case of any Federal Rule of Civil

Procedure 12(b)(6) motion to dismiss for failure to state a claim.

       Federal Rule of Civil Procedure 15(a)(1) provides that “[a] party may amend

its pleading once as a matter of course within: (A) 21 days after serving it, or (B) if

the pleading is one to which a responsive pleading is required, 21 days after service

of a responsive pleading or 21 days after service of a motion under [Federal Rule of

Civil Procedure] 12(b), (e), or (f), whichever is earlier.” FED. R. CIV. P. 15(a)(1). Federal

Rule of Civil Procedure 15(a)(2) then provides that, “[i]n all other cases, a party may

amend its pleading only with the opposing party’s written consent or the court’s

leave.” FED. R. CIV. P. 15(a)(2).

       With Rule 15(a)’s provisions in mind, and to manage this case efficiently and

minimize the cost of litigation, the Court will provide parties an opportunity to amend



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a pleading once before considering a Rule 12(b)(6) motion to dismiss. To accomplish

this, the Court requires that any party who proposes to file a Rule 12(b)(6) motion to

dismiss must comply with the following procedure:

   •   An attorney or pro se party who anticipates filing a Rule 12(b)(6) motion to

       dismiss must first confer by telephone or videoconference (such as over Zoom)

       or meet face-to-face with either the attorney representing the party whose

       pleading is challenged or, if that party is not represented by counsel, the pro

       se party and discuss the proposed deficiencies in the challenged pleading and

       the expected basis of the motion to dismiss. As part of this conference, the party

       who proposes to move to dismiss must also send to the non-moving party or

       counsel (including by email) a written letter that advises the non-moving party

       of the right to amend the pleading under these procedures and the

       corresponding deadlines involved in amending as set out below.

   •   After this conference, if the non-moving party intends to amend the pleading,

       the non-moving party must file an Advisory of that intent with the Court

       within seven (7) days of receipt of the written letter described above (and a

       copy of that letter must be attached to the Advisory when filed), and the

       amended pleading must be filed within seven (7) days of the filing date of the

       Advisory. This amended pleading will exhaust the non-moving party’s one

       opportunity under Rule 15(a)(2) to amend “as a matter of course” (that is,

       without the opposing party’s written consent or the Court’s leave). See Morris

       v. ARTA Travel, No. 3:23-cv-2036-D, 2023 WL 8285022, at *1-*2 (N.D. Tex.

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     Nov. 30, 2023).

 •   If an amended pleading is not filed by this deadline, the party who proposed to

     move to dismiss may file a Rule 12(b)(6) motion to dismiss. And, if an amended

     pleading is filed by the deadline but the party who proposed to move to dismiss

     believes that the amended pleading filed as part of this process is still deficient,

     that party may file a Rule 12(b)(6) motion to dismiss the amended pleading

     within the time required by Federal Rule of Civil Procedure 15(a)(3) – after

     which the Court will enter a briefing order and, if the non-moving party wishes

     to again amend the challenged amended pleading, the non-moving party must

     comply with the requirements and standards set by the Court’s scheduling

     order entered in this case and, as applicable, Federal Rules of Civil Procedure

     15(a)(2) and 16(b)(4).

 •   When a party files any Rule 12(b)(6) motion to dismiss, a Certificate of

     Conference must accompany the motion and expressly state that the movant

     complied with this Standing Order by informing the non-moving party of the

     basis of any anticipated motion and discussing the proposed deficiencies in the

     challenged pleading and by sending the written letter described above and

     must state the dates on which the conference took place and the written letter

     was sent and must state that the non-movant did not timely file an amended

     pleading or that the filed amended pleading is still deficient.

     If the Court denies a Rule 12(b)(6) motion to dismiss and the case goes forward,



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the moving party must comply with the requirement to file an answer within the time

required by Federal Rule of Civil Procedure 12(a)(4), and any additional amendments

to the challenged pleading by the non-moving party will be governed by the Court’s

scheduling order entered in this case and, as applicable, Rules 15(a)(2) and 16(b)(4).

See S&W Enters., L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 535-26 (5th

Cir. 2003). And any request for leave to amend should address the fact that this

procedure laid out above has already provided the non-moving notice of the proposed

deficiencies in the challenged pleading and the opportunity to amend prior to the

filing of the Rule 12(b)(6) motion to dismiss. See generally Great Plains Tr. Co. v.

Morgan Stanley Dean Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002) (“In view of the

consequences of dismissal on the complaint alone, and the pull to decide cases on the

merits rather than on the sufficiency of pleadings, district courts often afford

plaintiffs at least one opportunity to cure pleading deficiencies before dismissing a

case, unless it is clear that the defects are incurable or the plaintiffs advise the court

that they are unwilling or unable to amend in a manner that will avoid dismissal.”).

      SO ORDERED.

      DATED: January 3, 2024




                                         ______________________________________________________________________________________________________________________


                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE




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